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 UNITED STATES DISTRICT COURT
 WESTERN DISTRICT OF NEW YORK

 Ruby Belton, M.D.,

                            Plaintiff,               NOTICE OF APPEARANCE
               v.
                                                     Civil Action No.: 18-cv-06776-DGL
 Borg & Ide Imaging, P.C. and Radnet, Inc.,

                            Defendants.



       PLEASE TAKE NOTICE of the appearance of Stacey E. Trien, Esq. as counsel to

Radnet, Inc.


 Dated: December 3, 2018                   LECLAIR KORONA COLE LLP


                                            /s/ Stacey E. Trien
                                           Mary Jo S. Korona, Esq.
                                           Stacey E. Trien, Esq.
                                           Attorneys for Defendants: Borg & Ide Imaging, P.C.
                                           and Radnet, Inc.
                                           28 E. Main Street, Suite 1500
                                           Rochester, New York 14614
                                           Telephone: (585) 327-4100
                                           Facsimile:     (585) 327-4200
                                           E-mail: mkorona@leclairkorona.com
                                                    strien@leclairkorona.com

 TO:   TREVETT CRISTO, P.C.
       Lucinda Lapoff, Esq.
       Attorneys for Plaintiff
       Two State Street, Suite 1000
       Rochester, New York 14614
       Telephone: (585) 454-2181
       Facsimile:      (585) 454-4026
       E-mail: clapoff@trevettcristo.com
